                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF NORTH CAROLINA


 United States of America,
                                                  No. 12-cv-1349
                        Plaintiff;
            v.                                    UNITED STATES’ MOTION FOR
                                                  SUMMARY JUDGMENT
 Terry Johnson, in his official capacity as
 Alamance County Sheriff,
                        Defendant.


                 UNITED STATES’ MOTION FOR SUMMARY JUDGMENT

       The United States respectfully asks the Court to grant its Motion for Summary

Judgment. The undisputed facts in this litigation show that the Alamance County

Sheriff’s Office (“ACSO”) has engaged in a pattern or practice of discriminatory traffic

enforcement activities in violation of the Equal Protection Clause of the Fourteenth

Amendment, the Fourth Amendment’s protection from unreasonable searches and

seizures, and the Violent Crime Control and Law Enforcement Act of 1994, 42 U.S.C. §

14141. Summary judgment is appropriate for the reasons set forth in the United States’

Brief in Support of Its Motion for Summary Judgment, ECF No. 89, and accompanying

exhibits.



       Respectfully submitted,


       JOCELYN E. SAMUELS
       Acting Assistant Attorney General

       JONATHAN M. SMITH




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                           CERTIFICATE OF SERVICE


       I certify that the foregoing Motion for Summary Judgment was served through the
electronic filing service on March 3, 2014 to the following individual:

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